 

Case 7:20-cv-00412 Document 14 Filed on 03/01/21 in TXSD Page 1 of 1

Southern District of Texas - McAllen Division, Texas

- 1701 W BUSINESS HWY 83 MCALLEN TX 78501

CASE #: 7:20-CV-412

UNITED SATES OF AMERICA

Plaintiff
vs
0.723 ACRES OF LAND, MORE OR LESS, SITUATE IN STARR COUNTY, STATE OF TEXAS; AND

. VALLEY LAND FUND. INC. ET AL.

Defendant
AFFIDAVIT OF SERVICE

 

I, JOCELYNN NAVARRO, make statement to the fact;

That I ama competent person more than 18 years of age or older and not a party to
this action, nor interested in outcome of the suit. That I received the documents
stated below on 02/05/21 1:38 pm, instructing for same to be delivered upon Valley
Land Fund Inc. By Delivering To Its Registered Agent Debralee Rodriguez.

. That I delivered to: Valley Land Fund Inc. By Delivering To Its Registered Agent

Debralee Rodriguez.

the following : SUMMONS IN A CIVIL ACTION; NOTICE OF CONDEMENATION, SCHEDULE
A, SCHEDULE B, SCHEDULE C, SCHEDULE D, SCHEDULE E, SCHEDULE F,
SCHEDULE G

at this address : 3712 Lafferty Lane

Mcallen, Hidalgo County, TX 78504

Manner of Delivery : By PERSONALLY delivering the document(s) to the person above.

_ Delivered on : Wednesday FEB 24, 2021 3:44 pm

‘I SOLEMNLY AFFIRM under the penalties of perjury that the contents of the foregoing

‘correct. Given my hand and seal of office this

paper are true and correct.
EXECUTED BY: fp.
Ze (2)

JO€ELYNN NAVARRO 2” 2900
Texas Certification#: PSC-16390 Exp. 02/28/2021

On this day JOCELYNN NAVARRO appeared before me, a notary public, and being duly

sworn by me stated that he/she has personal knowledge of the facts set forth in the

foregoing affidavit and declared that the facts RSS therein are true and

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sey ale, ELODIA RODRIGUEZ
sor ot Notary Public, State of Texas
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NOTARY PUBLIC

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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eaffidavits@pcpusa.net RETURN TO CLIENT
